

People v Lawes (2023 NY Slip Op 51090(U))



[*1]


People v Lawes (Keith)


2023 NY Slip Op 51090(U)


Decided on October 16, 2023


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on October 16, 2023
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Brigantti, J.P., Tisch, Michael, JJ.



570921/18

The People of the State of New York, Respondent,
againstKeith Lawes, Defendant-Appellant.




Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Barbara F. Newman, J.H.O.), rendered October 3, 2018, convicting him, upon his plea of guilty, of violating Public Health Law § 229, and imposing sentence.




Per Curiam.
Judgment of conviction (Barbara F. Newman, J.H.O.), rendered October 3, 2018, reversed, on the law, the accusatory instrument dismissed, and fine, if paid, remitted. 
We agree with defendant that the allegations in the accusatory instrument were jurisdictionally insufficient to meet the elements of the charged offense of aggravated unlicensed operation of a motor vehicle in the third degree (see Vehicle and Traffic Law § 511 [1][a]). We note the absence of opposition by the People.
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concurDecision Date: October 16, 2023









